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                      IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

The Sustainability Institute et al.,                 Case No. 2:25-cv-2152-RMG

                Plaintiffs,
        v.

Donald J. Trump, in his official capacity as
President of the United States; Kevin
Hassett, in his official capacity as Assistant
to the President for Economic Policy and
                                                     ORDER
Director of the National Economic Council;
United States Office of Management and
Budget; Russell Vought, in his official
capacity as Director of the United States
Office of Management and Budget; United
States Environmental Protection Agency;
Lee Zeldin, in his official capacity as
Administrator of the United States
Environmental Protection Agency; United
States Department of Agriculture; Brook
Rollins, in her official capacity as Secretary
of Agriculture; United States Department of
Transportation; Sean Duffy, in his official
capacity as Secretary of the United States
Department of Transportation; United
States Department of Energy; Chris Wright,
in his official capacity as the Secretary of
the United States Department of Energy;
United States Department of Government
Efficiency Service, Amy Gleason, in her
official capacity as Acting Administrator of
the United States DOGE Service; Elon
Musk, in his official capacity as Senior
Advisor of the United States DOGE
Service,
Defendants.




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       Plaintiffs, recipients of 38 federal grants, brought this action against various federal

agencies and governmental officials in their official capacities alleging that the freezing and/or

terminating of their grants violated their rights under the United States Constitution and the

Administrative Procedures Act (“APA”). (Dkt. No. 23). Plaintiffs allege that their grants were

frozen and/or terminated because they were funded by appropriations under the Inflation

Reduction Act (“IRA”), the Inflation Investment and Jobs Act (“IIJA”), or other mandatory

legislation which Defendants oppose. Plaintiffs filed a motion for preliminary injunctive relief on

March 26, 2025, which the parties have fully briefed. (Dkt. No. 24, 56, 64).

       Defendants advised the Court in a submission of May 16, 2025 that they “do not contest

judgment on the merits of [Plaintiffs’] APA claims” for 32 of the 38 grants at issue in this litigation.

(Dkt. No. 153 at 1).1 The 32 grants in which Defendants no longer oppose relief under the APA

were funded by the IRA, the IIJA or other mandatory congressional legislation. While Defendants

do not contest the entry of judgment for the Plaintiffs in 32 of the 38 claims, they oppose injunctive

relief for Plaintiffs while Defendants contest on appeal the Court’s jurisdiction under the APA.

(Dkt. No. 153 at 1, n. 1). As discussed below, the Court enters judgment under the APA for

Plaintiffs on the 32 grants no longer contested by Defendants and then addresses Plaintiffs’ prayer

for equitable relief on these APA claims.2



1
 Dkt. No. 136-1 (attached as Exhibit A), which was prepared by Defendants, lists the 38 grants
under challenge in this litigation. Defendants have advised the Court that they do not contest the
entry of judgment regarding Grants 1-26 and 33-38.
2
 Defendants earlier advised the Court that they had restored grant funding for Grants 8, 13, 14,
15, 17, 18, 20, 21, 24, 25, 26, 34, 35, 36. (Dkt. No. 136-1; 147-4, ¶ 10). The Court thereafter
entered an order directing Defendants “not to subsequently freeze or terminate these grants without
notice to the Court and authorization from the Court that the freezing and/or termination may
proceed.” (Dkt. No. 146 at 17). This Order remains in effect until modified or rescinded by this
Court or an appellate court.
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             The Court further addresses below Plaintiffs’ assertion of nonstatutory review jurisdiction

     for the alleged ultra vires acts of Defendants, acting in their official capacities, in freezing and/or

     terminating their grants in violation of the United States Constitution. Plaintiffs assert that

     Defendants actions in targeting grants based on their opposition to previously adopted acts of

     Congress constitute a failure to “faithfully execute[]” the laws of the United States, as mandated

     by Article II, Section 3 of the United States Constitution. Plaintiffs point to a long line of United

     States Supreme Court decisions and the Fourth Circuit’s recent decision in Strickland v. United

     States, 32 F.4th 311, 363-366 (2022), upholding nonstatutory review jurisdiction of the federal

     courts to provide parties equitable relief in actions against federal officials in their official

     capacities for actions taken outside their legal authority and/or in violation of the United States

     Constitution.

             Finally, the Court addresses Plaintiffs’ request for preliminary injunctive relief regarding

     six grants that were funded by general appropriations to the United States Department of

     Agriculture (“USDA”). Defendants continue to contest their liability under the APA regarding

     those six claims.3

I.        Factual Background
             On January 20, 2025, President Donald Trump issued an executive order which directed

     all agencies to “immediately pause the disbursements of funds appropriated through the Inflation

     Reduction Act of 2022 . . . or the Infrastructure Investment and Jobs Act . . . .” Executive Order

     14154, 2025 WL 315844 (January 20, 2025). That directive was under a section titled

     “Terminating the Green New Deal.” Id. There was initially some uncertainty within the federal



     3
      These six claims still contested by Defendants under the APA are Grants 27-32. (Dkt. No. 136-
     1) (Exhibit A).
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agencies whether the directive applied only to matters related to the Green New Deal or to all

appropriations arising under the IRA and IIJA. Two Office of Management and Budget (OMB)

memoranda were issued shortly after the executive order that appeared to direct all agencies of the

federal government to temporarily pause all spending on IRA and IIJA appropriated projects. (Dkt.

No. 1-1, 1-2). Within days, various federal agencies, including the Environmental Protection

Agency (EPA) and the USDA, issued directives that that all spending of funds related to the IRA

and IIJA be immediately paused. (Dkt. No. 21-2, 21-3, 21-4, 21-8). Hundreds of previously

awarded and active federal grants to non-profit organizations and local governments were

summarily frozen with no notice or process. Numerous lawsuits similar to this action soon

followed.

        The 32 grants funded by mandatory legislation were primarily funded by IRA or the IIJA.

For example, many of the EPA grants at issue in this litigation were funded under the

Environmental and Climate Justice Block Grants program, a $2.8 billion dollar appropriation that

provided that the Administrator “shall . . . award grants for periods of up to 3 years . . . that benefit

disadvantaged communities . . . .” 42 U.S.C. § 7438(a)(1), (b)(1).4 In implementing the

Administrator’s instruction to eliminate all grants funded by the IRA and the IIJA, internal EPA

records document that Environmental and Climate Justice Block Grants were specifically targeted

for freezing and/or termination. (Dkt. Nos. 1-4, 149-3, 149-4).

        The Government Defendants in this and other similar suits initially denied that the freezing

of the grants was on the basis that they were funded by the IRA and IIJA. Instead, Defendants




4
  The Administrator was authorized to award grants under the Act for such purposes as
“community-led air and other pollution monitoring,” “mitigating climate and health risks,”
“climate resiliency,” and “reducing indoor toxins and indoor air pollution.” §7438(b)(2)(A).
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claimed with little explanation that the mass freezing of federal grants was due to a change in

agency priorities or policies. In a parallel action in Rhode Island, involving many of the same

Government Defendants, defendants contended that there was “no singular freeze” but “thousands

of individual decisions made by agencies about whether particular grants or other funding should

be paused.” Woonasquatucket River Watershed Council v. United States Department of

Agriculture, C.A. No. 1:25-cv-97, Dkt. No. 31 at 31 (D.R.I. March 27, 2025). The Rhode Island

Court and another district court confronted with this defense in a recent grant funding case found

it “unfathomable” and “truly doubtful” that “agencies suddenly began exercising their own

discretion to suspend funding across the board at the same time.” Woonsaquatucket River

Watershed Council v. United States Department of Agriculture, 2025 WL 1116157 at *11 (D.R.I.

April 15, 2025); National Council of Nonprofits v. Office of Management and Budget, 2025 WL

597959 at *7 (D.D.C. February 25, 2025).

       After similar arguments were made in this case, the Court ordered Defendants to produce

all documents related to “freezing, pausing, and/or terminating of grant funds to the grant

recipients who are parties to this litigation.” (Dkt. No. 45 at 5-7). Defendants produced thousands

of documents, not one showing any individualized review of decisions to freeze or terminate grants

of the Plaintiffs in this action. (Dkt. Nos. 79-91, 95-103, 106-132).

       The Defendants thereafter advised the Court that they had resumed the funding for 14 of

the 38 grants at issue in this litigation, terminated four grants, and were processing the termination

of six other grants. (Dkt. No. 136-1). The Court noted that these actions appeared to be a pivot by

the Defendants away from freezing grants and reflected a move by Defendants toward terminating

a smaller group of grants. Defendants claimed at a recent hearing that the grants were being

terminated only after an individualized review of each grant. (Dkt. No. 142 at 35). To determine

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the veracity of this representation, the Court ordered Defendants to produce all documents related

to the termination or the proposed termination of grants at issue in this action to determine whether

any such individualized review had actually been conducted. (Dkt. No. 146 at 15).

       Defendants produced over 500 additional pages of documents in response to the Court’s

discovery order. (Dkt. No. 147-1 to 147-10). Not one document showed any individualized review

of the grant of any Plaintiff in this action before the grant was terminated or designated for

termination. Defendants’ response included a declaration from senior EPA official Travis Voyles,

claiming that on February 25, 2025 he had made an “individualized review” of an unidentified

number of EPA grants, including many involved in this litigation, and determined that they were

“terminated for policy reasons.” (Dkt. No. 147-4). Mr. Voyles further stated that he orally

communicated his termination decisions to another EPA official who then began the termination

process. (Id. at 2-3). Not a single document was produced which evidenced any review by the

EPA. The Court finds it hard to believe that numerous active federal grants, some totaling millions

of dollars, were summarily terminated by a high-ranking government official without the

production of a single document to detail the review and decision making process.

       On May 16, 2025, the last business day before the Court’s oral argument on Plaintiffs’

motion for preliminary injunction, Defendants informed the Court that they “do not contest

judgment on the merits of Plaintiffs’ APA claims” and recognized that a judgment would “require

Defendants to fund or negotiate grant agreements for 32 of 38 awards . . . .” (Dkt. No. 153 at 1).

Defendants excluded from this concession six grants which were reportedly funded by general

appropriations to the USDA. (Id.). Defendants further advised the Court that in the event that the

Court provided injunctive relief to the Plaintiffs on their APA claims, they intended to seek to stay



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      of any such relief while they continued to pursue a challenge to the Court’s jurisdiction under the

      APA. (Id. at n.1).

II.        The Uncontested APA Claims
              The 32 APA claims in which Defendants no longer contest were part of the widespread

      agency action freezing or terminating grants that were funded by mandatory congressional

      legislation, primarily the IRA and IIJA. These grants were funded by legislation that mandated

      that the funds be expended for a specific purpose and left no discretion to agency heads to disregard

      the legislative mandates because current officials did not approve of the purposes of the previously

      appropriated programs. Plaintiffs have produced substantial, highly persuasive evidence to support

      their claims that their grant funds were frozen and/or terminated because Defendants disfavored

      previously authorized congressional appropriations and that such actions were outside of the legal

      authority of the agency Defendants and in violation of the Constitution’s separation of powers.

      Plaintiffs focus their APA claims primarily on statutory provisions which prohibit agency actions

      which are “not in accordance with law” or which are “contrary to” any constitutional right or

      power. 5 U.S.C. § 706(2)(A), (B). Based on the full record and the concession of the Defendants

      on May 16, 2025 (Dkt. No. 153), the Court hereby enters judgment for Plaintiffs on the 32 grants

      no longer contested.5

              The Court now turns to the issue of remedy. The APA provides district courts authority to

      “hold unlawful and to set aside agency action” found “not to be in accordance with law.” 5 U.S.C.




      5
        Judgment is rendered regarding Grants 1-26 and 33-38, (Dkt. No. 136-1) (Exhibit A). These
      grants involved the following agencies: EPA (Grants 2-15), USDA (Grants 16-26), United States
      Department of Energy (“DOE”) (Grant 1), and the United States Department of Transportation
      (“DOT”) (Grants 37-38).
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§ 706(2)(A). To that end, the Court grants Plaintiffs that are recipients of Grants 1-26 and 33-38

the following relief:

       A. A declaration that the freeze and/ or termination of Grants 1-26 and 33-38 were ultra

           vires acts outside the legal authority of the EPA, USDA, DOE, and DOT (hereafter the

           “Enjoined Agencies”) and in violation of the United States Constitution, constituting

           unlawful agency action under 5 U.S.C. § 706(2)(A) and (B);

       B. Sets aside the freeze and/or termination of Grants 1-26 and 33-38 and directs the

           Enjoined Agencies to restore Plaintiffs access to grant funds immediately;

       C. Enjoins the Enjoined Agencies from freezing, terminating or otherwise interfering with

           the funding of Grants 1-26 and 33-38 without written authorization from this Court6;

           and

       D. Directs the Enjoined Agencies to submit a certification to this Court within seven days

           of this Order confirming compliance with this Order.

       Defendants seek a stay of this Court’s injunctive relief pending appeal. A stay of relief to

the losing party after judgment is certainly “not a matter of right” and involves the exercise of

judicial discretion “dependent upon the circumstances of a particular case.” Nken v. Holder, 556

U.S. 418, 433 (2009) (citing Virginia R. Co. v. United States, 272 U.S. 658, 672-3 (1926)). The

party requesting the stay bears the burden of persuasion. The Supreme Court in Nken laid out four

factors to consider in addressing a motion for a stay after judgment: (1) whether the stay applicant



6
  The Court finds it necessary to maintain supervision over the continued functioning of the
unlawfully frozen or terminated grants because Defendants in this and parallel litigation have
provided shifting post hoc justifications for their actions, at times appearing to be as a means to
evade court orders. To the extent Defendants have legitimate and lawful reasons to terminate or
freeze grant funding, the Court will promptly give consideration to any such submission by
Defendants.
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has made a strong showing of likelihood of success on the merits; (2) whether the applicant will

be irreparably injured absent a stay; (3) whether the granting of the stay will substantially injure

the prevailing party; and (4) where the public interest lies. 556 U.S. at 433. The first two factors

from Nken are the most critical. Id.

       After carefully considering the Defendants motion to stay, the Court finds that a stay of the

Court’s injunctive relief is not appropriate under these circumstances. First, the Court finds that

Defendants are not likely to succeed on the merits. The Court addressed in detail, in its April 29,

2025 Order, the Court’s jurisdiction in this case, finding that Supreme Court precedent supports

Plaintiffs’ argument that their claims for declaratory and injunctive relief can properly be heard by

an Article III court under the APA. (Dkt. No. 146 at 1-12). Plaintiffs’ already strong jurisdictional

arguments have been further strengthened by the Court’s additional finding below of nonstatutory

jurisdiction related to Defendants’ alleged ultra vires and unconstitutional acts, since such claims

are plainly beyond the jurisdiction of the Court of Claims. The only forum in which Plaintiffs may

adjudicate all of their pending claims is in an Article III court.

       Second, Defendants cannot sustain their burden of demonstrating that they would suffer

irreparable injury from the granting of injunctive relief to Plaintiffs. Indeed, Defendants have not

offered any evidence to support such a claim. Third, Plaintiffs, which include many nonprofits

heavily dependent on the challenged grants to sustain their mission, administrative functions, and

staffing, have confronted significant challenges to their ongoing operations and experienced staff

layoffs due to the abrupt freezing of grant funds. Plaintiffs have further experienced significant

challenges to their good will and reputations by withdrawing services to community groups and

individuals who were relying upon Plaintiffs’ services and assistance. (See Dkt. No. 64-2 at 2-5).

Fourth, the public interest lies in upholding the rule of law and providing an effective remedy for

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   those injured by the unlawful actions of government officials. For these reasons, Defendants’

   motion to stay is denied.7

III.    Plaintiffs’ Claims for Relief under the Court’s Nonstatutory Review Jurisdiction
           Plaintiffs additionally assert claims under the Court’s nonstatutory review jurisdiction for

   equitable relief against federal officials in their official capacities on the basis that those federal

   officials exceeded the scope of their authority and/or acted unconstitutionally by failing to

   “faithfully execute[]” the laws of the United States. U.S. Const. Article II, Section 3. (Dkt. No. 23,

   ¶¶ 285-307). Plaintiffs expressly reference in their complaint the Fourth Circuit’s recent decision

   in Strickland v. United States in support of their claim for nonstatutory review. Plaintiffs assert

   these claims as a second and independent basis for federal jurisdiction and seek preliminary

   injunctive relief on these claims. (Dkt. No. 24-1 at 16-20).

           Defendants have to date focused their opposition to Plaintiffs’ federal jurisdiction almost

   entirely on whether this Court has jurisdiction under the APA. By earlier order, the Court found

   that Plaintiffs have jurisdiction with this Court under the APA and that their claims were

   exclusively for equitable and declaratory relief. (Dkt. No. 146). The Court now turns its attention

   to Plaintiffs’ claims referred to by Strickland as “nonstatutory review claims” or as “the Larson-

   Dugan exception to sovereign immunity.” Strickland 32 F.4th at 363.

        A. Jurisdiction:
           The United States Supreme Court has long recognized nonstatutory federal jurisdiction

   over claims which involve (1) an action against a federal official; (2) asserted in his official

   capacity; (3) based on allegations that the federal official has acted beyond his statutory or


   7
     Defendants have repeatedly argued that Plaintiffs’ claims are for money damage, not equitable
   relief. Plaintiffs’ Amended Complaint requests only equitable remedies, and the Court’s remedy
   set forth above exclusively provides equitable relief.
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constitutional authority; and (4) a request for equitable relief. See, Leedom v. Kyne, 358 U.S. 184,

188-89 (1958); Larson v. Domestic and Foreign Commerce Corporation, 337 U.S. 682, 689

(1949). The Strickland court reversed a district court decision which “mistakenly overlooked the

long-established line of precedent establishing that parties can seek to enjoin federal officials in

their official capacities from exceeding the scope of their authority or acting unconstitutionally.”

32 F.4th at 365. Strickland quoted approvingly from an amicus brief submitted in that action by

Professors Erwin Chemerinsky and Aziz Huq which traced the history of nonstatutory review

claims back to Marbury v. Madison, 5 U.S. 137, 166 (1803).8 Strickland, 32 F.4th at 365; see also,

International Refugee Assistance Project v. Trump, 883 F.3d 233, 287-88 (4th Cir. 2018) (en banc)

(J. Gregory, concurring).

        Plaintiffs’ Separation of Powers and ultra vires claims (Counts I and II) plainly state a claim

for nonstatutory review. (Dkt. No. 23, ¶¶ 285-307). Plaintiffs have sued federal officials in their

official capacities and have alleged that their actions freezing and/or terminating their grants

because they were funded by now disfavored federal laws were in violation of their duty Article

II, Section 2 of the United States Constitution to “faithfully execute[]” the laws of the United

States. Plaintiffs seek exclusively equitable remedies, declaratory and preliminary and permanent

injunctive relief. (Id., ¶¶ 89-91). The Court finds that it has jurisdiction over Plaintiffs’

nonstatutory review claims.




8
  The Court has filed the Chemerinsky and Huq amicus brief cited in the Strickland decision onto
the docket in this case because its details the strong line of precedents supporting nonstatutory
review jurisdiction. (Dkt. No. 156).
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    B. Standing
        Defendants have challenged Plaintiffs’ standing. (Dkt. No. 56 at 17-18). After a careful

review of the record and the arguments of the parties, the Court finds that Plaintiffs have standing

to assert their claims.

        To establish Article III standing, a plaintiff “must have (1) suffered an injury in fact, (2)

that is fairly traceable to the challenged conduct . . . and (3) that is likely to be redressed by a

favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). Injury in fact is “an

invasion of a legally protected interest” that is “concrete and particularized” and “actual or

imminent, not conjectural or hypothetical.” Id. at 339. Because Plaintiffs here seek declaratory and

injunctive relief, they must establish an ongoing or future injury in fact. O'Shea v. Littleton, 414

U.S. 488, 495–96 (1974) (“Past exposure to illegal conduct does not in itself show a present case

or controversy regarding injunctive relief . . . if unaccompanied by any continuing, present adverse

effects.”). “An allegation of future injury may suffice if the threatened injury is certainly

impending, or there is a substantial risk that the harm will occur.” Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 158 (2014) (internal quotation marks omitted).

        In a case involving multiple plaintiffs, “[a]t least one plaintiff must demonstrate standing

for each claim and form of requested relief” for that claim to proceed. Kenny v. Wilson, 885 F.3d

280, 287 (4th Cir. 2018); see also Bostic v. Schaefer, 760 F.3d 352, 370 (4th Cir. 2014) (“[T]he

Supreme Court has made it clear that the presence of one party with standing is sufficient to satisfy

Article III's case-or-controversy requirement.”) (internal quotation marks omitted). Consequently,

once it is established that at least one party has standing to bring the claim, no further inquiry is

required as to another party’s standing to bring that claim. Horne v. Flores, 557 U.S. 433, 446–47

(2009) (declining to analyze whether additional plaintiffs had standing when one plaintiff did);

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Watt v. Energy Action Educ. Found., 454 U.S. 151, 160 (1981) (“Because we find [one plaintiff]

has standing, we do not consider the standing of the other plaintiffs.”).

        Plaintiffs have offered detailed statements of organizational and reputational harm arising

from the abrupt freezing and/or terminating of their grants without notice. (Dkt. Nos. 24-2, 24-3,

24-4, 24-6, 24-9, 24-10). Plaintiff Sustainability Institute stated that the funding freeze had caused

“disruptions in . . . day to day operations, causing a slowdown and budgetary challenges.” (Dkt.

No. 24-2, ¶ 37). Plaintiff Agrarian Trust detailed “extreme distress to . . . staff members, farmers,

and community partners” from the grant freeze. (Dkt. No. 24-3, ¶ 15). Other Plaintiffs have offered

similar unchallenged statements or organizational injury and reputational damage from

Defendants’ action under challenge in this litigation. The record fully supports findings that

numerous Plaintiffs have suffered injury in fact, that the injuries are fairly traceable to Defendants’

challenged conduct, and that it is likely that these injuries are redressable by a favorable judicial

decision. Finding that Plaintiffs have standing, the Court proceeds to consider the merits of the

motion.

    C. Plaintiffs’ Motion for a Preliminary Injunction:
        “The purpose of a preliminary injunction is merely to preserve the relative positions of the

parties until a trial on the merits can be held.” Univ. of Tex. v. Camenisch, 451 U.S. 390, 395

(1981). To obtain a preliminary injunction, a party must make a “clear showing” that (1) he is

likely to succeed on the merits; (2) he is likely to suffer irreparable harm in the absence of

preliminary relief; (3) the balance of equities tips in his favor; and (4) an injunction is in the public

interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 21 (2008). Plaintiff bears the burden of

showing that each factor supports his request for preliminary injunction. Direx Israel, Ltd. v.

Breakthrough Med. Corp., 952 F.2d 802, 811 (4th Cir. 1991).

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       The Court addresses the four Winter factors in turn below.

       1. Likelihood of Success on the Merits:
       The record before the Court contains ample evidence that the 32 grants Defendants no

longer challenge under the APA were frozen and/or terminated because they were funded by

mandatory congressional legislation that the Agency Official Defendants do not favor. While

Defendants have contended that the grants were individually reviewed and frozen or terminated

for undefined “policy reasons,” the Court-ordered discovery in this case failed to produce a single

document showing any individualized review of the Plaintiffs’ grants or discussion of any basis

for freezing or terminating the grants other than disapproval of the purposes of the funding. (See

Dkt. Nos. 1-1, 1-2, 21-2, 21-3, 21-4, 21-8, 149-3, 149-4). These documents provide strong support

for Plaintiffs’ claim that the freezing and/or termination of the 32 grants constituted a violation of

the Agency Official Defendants duty to “faithfully execute[]” the laws of the United States.

       It is worthwhile to note that Plaintiffs’ nonstatutory review claims and Plaintiffs’ APA

claims which Defendants have elected not to contest are, for all practical purposes, mirror images

of each other. The 32 grants no longer under challenge under the APA all were frozen and/or

terminated because they were funded by now disfavored legislation. The APA claims challenged

agency actions that were “not in accordance with law” and “contrary to constitutional right” based

on the official actions of Defendants acting outside their authority and in violation of the

Separation of Powers. 5 U.S.C. § 706(2)(A) and (B). Plaintiffs’ nonstatutory review claims are

based on the argument that Defendants, have failed to “faithfully execute[]” the laws and rely on

the identical facts and conduct that constitute the now uncontested APA claims.




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       In sum, the Court finds that Plaintiffs have shown a likelihood of success on the merits on

their nonstatutory review claims concerning the 32 grants Defendants no longer contest regarding

APA liability.

       2. Irreparable Injury
       A plaintiff seeking injunctive relief must demonstrate the presence of irreparable injury.

“A showing of irreparable harm is the sine qua non of injunctive relief.” Northeastern Fla. Chapter

of the Ass'n of Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th

Cir.1990) (citing Frejlach v. Butler, 573 F.2d 1026, 1027 (8th Cir.1978)). “The purpose of a

preliminary injunction is merely to preserve the relative positions of the parties until a trial on the

merits can be held.” The second prong of the Winter test requires the plaintiff to make a “clear

showing” that they are likely to suffer irreparable harm in the absence of preliminary relief. Winter,

555 U.S. at 21. Irreparable injury must be both imminent and likely; speculation about potential

future injuries is insufficient. Winter, 555 U.S. at 22.

       First, the Nonprofit Plaintiffs offer several forms of harm they face, including disruptions

in their day-to-day operations, financial strain, personnel actions including dismissal and

furloughs, operations being curtailed or ended, and damage to their credibility and reputation. (Dkt.

No. 24-1 at 29-34).

       The Government responds that: (1) Plaintiffs allegations are speculative and not

sufficiently likely to occur under the Winter standard; and (2) Plaintiffs have failed to establish the

harm they face is irreparable and could not be cured by a monetary award after judgment. (Dkt

No. 56 at 31-4).

       Plaintiffs have adequately demonstrated both the likelihood of their injury as well as its

irreparability. In their Complaint, their preliminary injunction motions, and the twenty declarations

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filed in support, the Plaintiffs have laid out dozens of examples of obligated funding and the harms

that the withholding thereof has caused. (Dkt. Nos. 1, 23, 24, 44). The court’s analysis in New York

v. Trump is relevant:

               It is so obvious that it almost need not be stated that when money is
               obligated and therefore expected (particularly money that has been
               spent and reimbursement is sought) and is not paid as promised,
               harm follows—debt is incurred, debt is unpaid . . . services stop, and
               budgets are upended. And when there is no end in sight to the
               Defendants’ funding freeze, that harm is amplified because those
               served by the expected but frozen funds have no idea when the
               promised monies will flow again.

New York, 2025 WL 715621, at *13 (D.R.I. Mar. 6, 2025). Indefinitely pausing funding

“unquestionably make it more difficult” for the Plaintiffs to “accomplish their primary [mission]”

and is a form of irreparable harm. Woonasquatucket River Watershed Council, 2025 WL 1116157,

at *22 (citing League of Women Voters of United States v. Newby, 838 F.3d 1 (D.C. Cir. 2016)).

       Second, the City Plaintiffs submit that the pause in funding presents harms such as negative

impacts on their budget due to reliance on federal funding, an inability to honor agreements with

third parties, and delays or cancelations to projects. (Dkt. No. 64 at 18). The Government responds

that the Municipalities are sufficiently well-resourced whose projects are not “the type of activities

that establish irreparable harm to justify extraordinary relief.” (Dkt No. 56 at 34-5). The

government’s argument is insufficient. A few examples show the variety of irreparable harms.

Plaintiff City of San Diego has hired four employees using their USDA funding, those positions

are now at risk. (Dkt. No. 24-20, ¶ 8). Plaintiff City of Columbus would be forced to draw down

funds from other projects and divert money from other budgetary requirements, causing a ripple

effect of budgetary issues. (Dkt. No. 24-16, ¶ 19). Plaintiff City of Madison has contractual

agreements made with sub-grantees in reliance on the EPA funding and are unable to honor those

agreements. (Dkt. No. 24-17, ¶ 24).
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       Congress enacted these laws and appropriated funding to these agencies, the funding freeze

unconnected to legal authorization causes significant and irreparable harms to Plaintiffs. In their

Complaint and subsequent filings, Plaintiffs have demonstrated dozens of examples of obligated

funding and the harms they face when those funds are withheld.

       Plaintiffs have adequately demonstrated irreparable harm arising from Defendants’ actions.

       3. Balance of Equities and Public Interest
       The balance of the equities and public interest weigh in favor of granting Plaintiffs’ request

for preliminary injunctive relief. “The[] final two factors—balance of the equities and weighing

the public interest—‘merge when the Government is the opposing party.’” Am. Fed'n of State,

Cnty. & Mun. Emps., AFL-CIO v. Soc. Sec. Admin., No. 25-1411, 2025 WL 1249608, at *63 (4th

Cir. Apr. 30, 2025) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). “‘Balancing the equities’

when considering whether an injunction should issue, is lawyers’ jargon for choosing between

conflicting public interests.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 329 n.10 (1982)

(quoting Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 609–610 (1952) (concurring

opinion)).

        Here, Plaintiffs assert an interest in “[e]nsuring [that] Congressional and local priorities

are achieved,” “having governmental agencies abide by federal laws that govern their existence

and operations” and “protecting constitutional rights,” (Dkt. No. 24-1 at 36), while the Government

emphasizes the potential that it will be unable to recover “millions of taxpayer dollars” disbursed

pursuant to a preliminary injunction if a court later determines that the Government’s decision to

freeze or terminate the grants was lawful. (Dkt. No. 56 at 35). The Government also argues that

“[r]equiring the Executive to financially support specific projects that may be within the statutory




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parameters of a program but nevertheless at odds with the Executive’s priorities negatively impacts

the public interest.” (Id.).

        The Court finds that the balance of the equities tips strongly in favor of Plaintiffs. The

Government “is in no way harmed by [the] issuance of a preliminary injunction which prevents

the [government] from enforcing restrictions likely to be found unconstitutional” and “if anything,

the system is improved by such an injunction.” Leaders of a Beautiful Struggle v. Baltimore Police

Dep't, 2 F.4th 330, 346 (4th Cir. 2021). The Court has determined that Plaintiffs have demonstrated

a substantial likelihood of success on the merits of their ultra vires claims challenging Grants 1-26

and 33-38—in other words, a substantial likelihood that Agency Official Defendants have acted

unconstitutionally by encroaching upon the domain of the Legislature. And if the Court’s

constitutional concerns alone were not enough to tip the scales in Plaintiff’s favor, the Court

considers sufficient the threat to Plaintiffs’ survival in the face of suddenly and inexplicably paused

and/or terminated funding, culminating in their need to furlough staff and pause services to the

communities whom they operate to serve. (Dkt. No. 24-1 at 2; see generally Dkt. No. 23). Given

that the Government no longer even challenges Plaintiffs’ APA claims (excluding those asserted

against the Secretary of Agriculture regarding grants under the Partnership for Climate-Smart

Commodities (“PCSC”)), the Court finds that it would be confounding indeed to credit the

Government’s assertion of its interests in retaining taxpayer funds over that of Plaintiffs in

receiving these congressionally-allocated funds where the Government no longer even maintains

that it followed lawful procedures in freezing and terminating those funds. (Dkt. No. 153).

        “The Government is not harmed where an order requires them to disburse funds that

Congress has appropriated and that Agencies have already awarded, . . . . [a]nd an agency is not

harmed by an order prohibiting it from violating the law.” Woonasquatucket River Watershed

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Council, 2025 WL 1116157, at *23. “On the other hand, without injunctive relief to pause the

categorical freeze of IIJA and IRA funds, the funding that the Nonprofits are owed (based on the

Agencies’ own past commitments) creates an indefinite limbo.” Id. “Because the public's interest

in not having trillions of dollars arbitrarily frozen cannot be overstated,” the Court finds that the

balance of equities tips indisputably in Plaintiffs’ favor on their ultra vires claims. Nat'l Council

of Nonprofits v. Off. of Mgmt. & Budget, No. 25-cv-239, 2025 WL 597959, at *19 (D.D.C. Feb.

25, 2025)

        The public interest also favors a preliminary injunction. The perpetuation of unlawful

agency action is contrary to the public interest, and there is a substantial public interest in having

governmental agencies abide by the federal laws that govern their existence and operations. See

League of Women Voters of United States, 838 F.3d at 12. “Government actions in contravention

of the Constitution are always contrary to the public interest.” Turner v. U.S. Agency for Glob.

Media, 502 F. Supp. 3d 333, 386 (D.D.C. 2020). Given the Court’s finding that Plaintiffs are likely

to succeed on the merits of their constitutional claims, a preliminary injunction here ensures that

the agencies do not act in excess of their authority or in violation of the Constitution. Preserving

fairness, accountability, and balance of power in governance serves the public interest and granting

Plaintiffs preliminary injunctive relief does just that.

        Defendants argue that they are serving the public interest by protecting and seeking to

recover “millions of taxpayer dollars.” But the relief Plaintiffs seek only allows them to access

funds that have been appropriated by Congress; obligated prior to this suit; can only be used for

specific, approved purposes; and will only be released as the Plaintiffs implement their grant

program plans. Sufficient procedures have already taken place or are already in place to protect

taxpayer dollars.

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          Because Plaintiffs have made clear showing under the four Winters factors, the Court

grants Plaintiffs motion for preliminary injunction on Claims I and II as to Grants 1-26 and 33-38.

The Court orders the following relief:

             A. Enjoins Lee Zeldin, in his official capacity as Administrator of the EPA, Brook

                 Rollins, in his official capacity as Secretary of USDA, Sean Duffy, in his official

                 capacity as Secretary of the Secretary of DOT, and Chris White, in his official

                 capacity as Secretary of DOE (hereafter “Enjoined Individual Defendants”) from

                 freezing and/or terminating Grants 1-26 and 33-38 and directs that Plaintiffs access

                 to funding for these grants be immediately restored;

             B. Enjoins the Enjoined Individual Defendants from freezing, terminating or

                 otherwise interfering with the funding of Grants 1-26 and 33-38 without written

                 authorization from the Court9;

             C. Directs the Enjoined Individual Defendants to submit a certification to this Court

                 within seven days of this Order confirming compliance with this Order.

      D. Bond
          Plaintiffs urge this Court to set a nominal bond of zero dollars in this case. (Dkt. No. 24 at

3). Plaintiffs cite recent decisions by other district courts that have considered the issue with respect

to nonprofits contesting the freezing of grant funds. See, e.g., Maryland v. United States Dep’t of

Agric., No. 25-cv-0748, 2025 WL 800216, at *26 (D. Md. Mar. 13, 2025) (“it would be prohibitive

to require plaintiffs to bear up front the total cost of the alleged governmental wrongdoing”); Nat’l

Ass’n of Diversity Officers in Higher Educ. v. Trump, No. 25-cv-333, 2025 WL 573764, at *29




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    See Footnote 6 for further explanation regarding this condition of the preliminary injunction.
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(D. Md. Feb. 21, 2025) (setting a nominal bond of zero dollars because requested bond “would

essentially forestall [the] [p]laintiffs’ access to judicial review”).

        Rule 65 provides that “[t]he court may issue a preliminary injunction or a temporary

restraining order only if the movant gives security in an amount that the court considers proper to

pay the costs and damages sustained by any party found to have been wrongfully enjoined or

restrained.” Fed. R. Civ. P. 65(c). A district court “retains the discretion to set the bond amount as

it sees fit or waive the security requirement.” Pashby v. Delia, 709 F.3d 307, 331-332 (4th Cir.

2013) (abrogated on other grounds as recognized by Stinnie v. Holcomb, 37 F.4th 977 (4th Cir.

2022)). “In some circumstances, a nominal bond may suffice.” Hoechst Diafoil Co. v. Nan Ya

Plastics Corp., 174 F.3d 411, 421 (4th Cir. 1999) (citing International Controls Corp. v. Vesco,

490 F.2d 1334 (2d Cir.1974)). District courts often waive the bond requirement in public interest

cases, recognizing that the failure to do so could prevent certain plaintiffs from obtaining

meaningful judicial review. See Defenders of Wildlife v. U.S. Fish and Wildlife Service, 530 F.

Supp. 3d 543, 560 (D.S.C. 2021) (collecting cases).

        The Government contests Plaintiffs’ request for the imposition of nominal bond and

“request[s] that the Court require Plaintiffs to post security . . . for any taxpayer funds distributed

during the pendency of the Court’s Order,” citing a presidential memorandum opposing the waiver

of injunction bonds. White House memorandum states that “it is the policy of the United States to

demand that parties seeking injunctions against the [government] must cover the costs and

damages incurred if the [g]overnment is ultimately found to have been wrongfully enjoined or

restrained.” (Dkt. No. 56 at 36) (citing Presidential Memorandum, Ensuring the Enforcement of

Federal Rule of Civil Procedure 65(c), available at https://www.whitehouse.gov/presidential-

actions/2025/03/ensuring-the-enforcement-of-federal-rule-of-civil-procedure-65c/          (Mar.    11,

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  2025)). This Court is not bound by the memorandum and declines to adopt any policy that would

  have the effect of blocking opponents of the government from the courts. See, e.g., Nat’l Ass’n of

  Diversity Officers in Higher Educ. v. Trump, No. 25-CV-333, 2025 WL 573764, at *30 (D. Md.

  Feb. 21, 2025) (setting a nominal bond of zero dollars because granting the defendants’ request

  “would essentially forestall [the] [p]laintiffs’ access to judicial review”). This Court agrees with

  the District of Rhode Island that, “[i]n a case where the Government is alleged to have unlawfully

  withheld large sums of previously committed funds to numerous recipients, it would defy logic—

  and contravene the very basis of this opinion—to hold the Nonprofits hostage for the resulting

  harm.” Woonasquatucket River Watershed Council, 2025 WL 1116157, at *24. The Court thus

  imposes a nominal bond of zero dollars.

IV.    Plaintiffs’ Claims for Relief Regarding Grants Funded by General Appropriations of
       the USDA
          The six grants which Defendants continue to contest arise were administered by the USDA

  and were funded under the Commodity Credit Corporation, an entity under the control of the

  USDA. The grants were awarded under a program titled Partnerships for Climate Smart

  Commodities. (“PCSC”). Defendants have represented to the Court PCSC funding derived

  exclusively from the general appropriations of the USDA. Defendants assert that the USDA

  Secretary has broad discretion in the use of these funds, which differs from appropriations under

  the IRA, IIJA, or other mandatory congressional legislation. (Dkt. No. 142 at 42-43).

          Defendants have informed the Court that that “PCSC has been converted into the

  Advancing Markets for Producers” to “reprioritize efforts so that more money goes directly to

  farmers.” (Dkt. No. 153 at 2). As part of this new program, USDA has imposed a requirement that

  65% of the federal funds must go to the producers. (Id. at 2-3). Six grants of Plaintiffs (Exhibit A,

  Grants 27-32) have been terminated because they allegedly do not meet the newly imposed 65%
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requirement. (Id. at 3). The termination notices invite Plaintiffs to submit new proposals under the

redesigned program by June 20, 2025. (Id.). Plaintiffs challenge the termination of the six USDA

grants on the basis that the newly adopted program with the 65% requirement “emerged out of

nowhere” and USDA provided “no explanation how its new 65% threshold was derived.” (Dkt

No. 149 at 14-15).

         There is a very limited record before the Court on the termination of Grants 27-32.

Plaintiffs assert that these six grants were summarily terminated at or about the time of the other

32 grants with no notice or reasoned explanation. According to Defendants, the funding of these

grants was exclusively from generally appropriations and were not part of any mandatory

legislation.10 Thus, the challenges to the termination of these grants are based on an alleged failure

to follow proper APA procedures, rather than a violation of USDA’s duty to “faithfully execute[]”

the laws. Further, the explanation provided by USDA officials for the termination of the six grants

was not based on an undifferentiated attack on the purposes set forth in congressional legislation

but on an effort to reduce administrative costs so that producers receive a greater share of the

benefits of the federal funds. Moreover, affected Plaintiffs are invited to submit applications under

the revised grant program.

         Under the Winter factors, a threshold, critical issue is whether Plaintiffs can carry the

burden of showing a likelihood of success on the merits to entitle them to the “extraordinary

remedy” of preliminary injunctive relief. Winter, 555 U.S. at 20. On this record, the Court finds

that Plaintiff cannot meet this standard. It may be with a fuller record and with further




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  The Plaintiffs stated in the Amended Complaint that “upon information and belief,” a portion of
the PCSC grants was funded by the IRA. (Dkt. No. 23). Based on the present information before
the Court, this appears not to be correct.
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 developments Plaintiffs establish a basis for an APA claim but at this time preliminary injunctive

 relief is not appropriate.

V.    Conclusion
         Based on the foregoing, the Court has ruled as follows:

         A. Under Section II, the Court enters judgment for Plaintiffs regarding the uncontested

             APA claims (Exhibit A, Grants 1-26, 33-38). Plaintiffs are provided declaratory and

             permanent injunctive relief. Defendants’ motion to stay is denied.

         B. Under Section III, The Court finds that it has jurisdiction over Plaintiffs’ nonstatutory

             review claims and that Plaintiffs’ have standing to assert those claims. The Court

             further grants Plaintiffs preliminary injunction for Grants 1-26 and 33-38 regarding the

             nonstatutory review claims.

         C. Under Section IV, the Court denies Plaintiffs preliminary injunctive relief regarding

             Grants 27-32.

                                                       _s/ Richard Mark Gergel
                                                       Richard Mark Gergel
                                                       United States District Judge

 May 20, 2025
 Charleston, South Carolina




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